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                       UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                               Alexandria Division

UNITED STATES OF AMERICA,                 :
                                          :
v.                                        :       Criminal Case No. 1:18-CR-457 (AJT)
                                          :
BIJAN RAFIEKIAN, et al.                   :


                                    VERDICT FORM


                                       COUNT ONE
                                       (Conspiracy)

      We, the jury, unanimously find the defendant Bijan Rafiekian,


 _____________________________         of conspiracy to act as an unregistered agent of a
 (Not Guilty or Guilty)                foreign government as charged in Count One (a) of the
                                       indictment.

 _____________________________         of conspiracy to make willful and material false
 (Not Guilty or Guilty)                statements and omissions in a FARA filing as charged
                                       in Count One (b) of the indictment.



                                      COUNT TWO
     (Acting in the United States as an Unregistered Agent of a Foreign Government)

      We, the jury, unanimously find the defendant Bijan Rafiekian,


 _____________________________         of acting in the United States as an unregistered agent
 (Not Guilty or Guilty)                of a foreign government as charged in Count Two of the
                                       indictment.



      So Say We All, this ___ day of July, 2019



                                                         FOREPERSON

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                                CERTIFICATE OF SERVICE

       I hereby certify that, on the 21st day of July 2019, true and genuine copies of Defendant

Rafiekian’s Proposed Verdict Form were sent via electronic mail by the Court’s CM/ECF system

to the following:

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                                                            /s/
                                                            Robert P. Trout (VA Bar # 13642)




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